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                        IN THE UNITED STATES DISTRICT COURT
                                                                                            H   9.   25
                         FOR THE WESTERN DISTRICT OF TEXASZO9 OCT 2
                                       AUSTIN DIVISION

JOHN DOE,                                       §
                       PLAINTIFF,               §
                                                §
V.                                              §    CAUSE NO. A-19-CV-0415-LY
                                                §
BOARD OF REGENTS OF THE                         §
UNIVERSITY OF TEXAS SYSTEM;                     §
MELISSA B. HARRELL, LAURA E.                    §
MITCHELL, AND RENA S. DAY,                      §
EACH INDIVIDUALLY AND IN HER                    §
OFFICIAL CAPACITY, JOINTLY AND                  §
SEVERALLY,                                      §
                DEFENDANTS.                     §


     ORDER GRANTING MOTION TO DISMISS AND DISMISSING ALL CLAIMS

       Before the court is the above styled and numbered cause. Plaintiff John Doe, is a Florida

resident and a former graduate student in the Epidemiology Department at the University of Texas

Health Science Center at Houston, School of Public HealthAustin ("UT Health-Austin"). After

failing the preliminary examination for the PhD program in Epidemiology three times, Doe filed this

action alleging that Defendants acting together in their official capacities and individually in a

manner outside their authority, all but guaranteed Doe would fail the required examination and

thereby prevented him from advancing through the PhD program. Doe alleges that Defendants chose

to single him out for failure because of Doe's critical views about vaccine safety and efficacy, and

the manner in which Doe has brought to the public's attention scientific and governmental

documents Doe believes link vaccines to autism. Doe alleges that Defendants have deprived him

of his rights to freedom of speech and due process under the United States and Texas Constitutions.

Doe also asserts a breach-of-contract action.


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       Pending are Defendants Board of Regents of the University of Texas System ("Board"),

Melissa B. Harrell, associate professor and academic advisor at UT Health-Austin, Laura E.

Mitchell, professor and former epidemiology preliminary-exam committee chair and former

associate dean of research at UT Health-Houston, and Rena S. Day, professor and current

epidemiology preliminary-exam committee chair at UT Health-Houston's Defendants' Motion to

Dismiss Plaintiff's Second Amended Complaint for Lack of Subject-Matter Jurisdiction and Failure

to State a Claim filed June 21, 2019 (Clerk's Document No. 22), PlaintiffJohn Doe's response filed

July 12, 2019 (Clerk's Document No. 25), and Defendants' reply filed July 25, 2019 (Clerk's

Document No. 28). Defendants seek dismissal of all of Doe's claims. Having considered the

motion, response, reply, the second amended complaint, and the applicable law, the court will grant

the motion.

Background

       Doe spent the academic year of 2013-2014, the first year of his graduate program, at UT

Health-San Antonio. Doe transferred and continued his studies at UT Health-Austin, where he

remained until he was dismissed in June 2017. After completing two years of coursework, Doe

qualified to take the epidemiology preliminary examination, which he was required to pass before

writing his doctoral dissertation. Doe took the examination in June 2015, and when he did not pass,

UT Health-Austin provided Doe a remedial education plan. To continue in the graduate program,

the plan required Doe to enroll in a masters-level courseEpidemiology III. Doe enrolled in the

course. Of the seven students in the class, Doe and all but one other student encountered grading

problems with the professor and dropped the class. When this occurred, Harrell, Doe's academic

advisor, gave Doe the option ofmeeting with her for a one-on-one independent-study course to assist


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in preparing Doe to retake the preliminary examination. Doe explains that as ofNovember 20, 2015,

Harrell thought Doe was adequately prepared for the examination, and Doe and Harrell stopped the

independent-study sessions.

       On January 6, 2016, Doe sat again for the preliminary examination. Afterward he was

provided a "summary" of the results, and informed he had failed the examination. Doe requested

that he be allowed to review his examination, but his request was denied. UT Health dismissed Doe

from the doctoral program on February 15, 2016. Doe appealed the dismissal and was readmitted

to the program. He again enrolled in Epidemiology III, this time with Professor Steven Kelder, and

received an "A" in the course. Kelder offered Doe a summer research position and replaced Harrell

as Doe's academic advisor.

       On May 17,2017, Doe took the preliminary examination for a third time. Once again, he was

informed that he had failed the examination and was provided no further information about his

results. On June 27, 2017, UT Health dismissed Doe from the graduate program. Doe commenced

this action in April 2019.

       Doe claims Defendants are responsible for his repeated failures and alleges Defendants'

actions were taken in retaliation for his anti-vaccination views. By his Second Amended Verified

Complaint, Doe alleges five claims against Defendants: (1) ultra vires claims based on acts by

Harrell, Mitchell, and Day that culminated in Doe's dismissal from UT Health; (2) First Amendment

freedom of speech violations; (3) Fourteenth Amendment dueprocess violations; (4) violations of




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the Texas Constitution's due-course-of-law provision; and (5) breach of contract or implied

contract.'

        The Board contends that Doe lacks standing to bring claims against it. See Fed. R. Civ. P.

12(b)(1). When the court is without statutory or constitutional power to adjudicate a case, the case

is properly dismissed for want of subj ect-mafter jurisdiction. Hooks      v.   Landmark Indus., Inc., 797

F.3d 309, 312(5th Cir. 2015). Plaintiff bears the burden to show standing and must establish: (1) an

actual or imminent, concrete and particularized "injury in fact"; (2) that is fairly traceable to the

challenged action of the defendant; and (3) that the injury is likely to be redressed by a favorable

decision. Friends of the Earth Inc.   v.   Laidlaw Envt'l. Servs., Inc., 528 U.S. 167, 180-8 1 (2000).

Each of the three elements are "an indispensable part of the plaintiff's case and the party seeking to

invoke federal jurisdiction bears the burden to establish them." Lujan v. Defenders of Wildlife, 504

U.s. 555, 561 (1992).

        The remaining Defendants contend that each of them is either immune from Doe's claims

or Doe's claims fail to state a claim for which relief may be granted. See Fed. R. Civ. P. 12(b)(6).

        In determining whether a pleading states a claim for which relief may be granted, the court

evaluates the pleadings by accepting all well-pleaded facts as true, viewing them in the light most

favorable to the plaintiff. In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007).

To survive a defendant's motion to dismiss, the complaint must allege enough facts "to state a claim

to relief that is plausible on its face." Bell Ati. Corp.   v.   Twombly, 550 U.S. 544, 570 (2007). "A

claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw


          Throughout the complaint, Doe pleads generally that "Defendants" are responsible for each
of the counts alleged, except Count I, by which Doe alleges with specificity that Defendants Harrell,
Mitchell, and Day committed ultra vires acts which caused damages to Doe.

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the reasonable inference that the defendant is liable for the misconduct alleged."   Ashcroft   v.   Iqbal,



556 U.S. 662, 678 (2009). "The plausibility standard is not akin to a 'probability requirement,' but

it asks for more than a sheer possibility that a defendant has acted unlawfully." Id. "Factual

allegations must be enough to raise a right to reliefabove the speculative level." Twombly, 550 U.S.

at 555. "Where the well-pleaded facts do not permit the court to infer more than the mere possibility

of misconduct, the complaint has allegedbut it has not 'shown''that the pleader is entitled to

relief."       Iqbal,   556 U.S. at 679 (quoting Fed. R. Civ. P. 8(a)(2)). "Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice." Id. at 678.

Doe's breach-of-contract claim

        Doe alleges that he "had a contract or implied contract with The University of Texas[,j and

Defendants' failure and refusal to abide by the terms of that contract or implied contract constituted

a breach of said contract."2 The Board overseas the University of Texas System ("System"), but the

Board is neither synonymous with the System nor its component institutions such as UT Health.3

See Tex.       Educ. Code Ann.    §   65.11, 73.001 (West 2002).

        The Board moves to dismiss these claims contending that Doe's pleading does not allege any

conduct by the Board or an injury that is fairly traceable to any challenged action by the Board.




          Doe's response to the motion to dismiss provides that he only seeks relief on his breach-of-
           2


contract claims against "The University of Texas," not Mitchell, Harrell, Day, or the Board.

         Doe did not name the UT System as a Defendant, he names the Board of Regents.
Although there is a distinction between the two university parties, it is immaterial, as the court
determines Doe has not alleged any facts that if true, would constitute an injury traceable to the UT
System.

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       Doe responds that the Board is a proper party to his breach-of contract claim and his breach

of implied-contract claim, and these claims should not be dismissed. Further in response to the

motion to dismiss, Doe argues,

               As the Board of Regents exercises ultimate control over the UT
               System and makes all decisions involving the UT System, they are
               inherently a party to the contract between [Doe] and the UT System
               in this case. Within UT Health's admission process, UT Health
               administrators have authority to grant admission to students, which
               is an offer that may be accepted by a student. In this scenario, [Doe]
               accepted that offer. Yet, the University only has the power to grant
               the offer to a student, contingent upon the Board properly vesting that
               power upon them. Thus, UT Health's power to contract with students
               ultimately is predicated upon the Board[]'s decision making and
               control over the UT System, and their allotment of power to the
               different schools within the system.

        Although Doe does not cite to or include as an exhibit any specific document he alleges to

be a written contract with UT Health, Doe suggests that UT Health's admission of a student creates

a contract guaranteeing graduation from that student's chosen program. The court concludes this

proposition is wholly unsupported. Doe has alleged no facts sufficient for the court to reasonably

infer that any Defendant (1) had a contract, actual or implied, with Doe, and (2) took any action that

would breach that contract. Doe has not met his burden to invoke the court's jurisdiction over these

claims and the court will dismiss them for lack of standing.

Doe's remaining claims against the Board

        The Board also contends that Doe has failed to establish that he has standing to bring all other

 claims alleged against it. Counts II through IV of the second amended complaint do not refer to the

 Board specifically, rather the Board is included only by Doe's general reference to "Defendants."4


        "
          The second amended complaint presents the following: (1) Count II, "42 USC §
 1983First Amendment Freedom of Speech-Retaliation;" (2) Count III "42 USC § 1983-Fourteenth
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Additionally, the pleading makes no reference to any specific action taken by the Board with regard

to Doe's termination from UT Health. Instead, the Board's alleged liability stems only from the fact

that UT Health is under the direct control of the Board.

       The Board contends that as there are no allegations the Board took any action against Doe

and there is no injury Doe sustained that is traceable to any action by the Board, Doe has failed to

show he has standing to bring the claims alleged against the Board. Doe responds that because the

Board is responsible for overseeing the management of UT Health, Doe's injuries are fairly traceable

to the Board. Doe argues that his claims stem directly from the Board's failure to provide adequate

oversight to ensure that administrators and educators at UT Health do not engage in conduct that

violates students' rights to freedom of speech and due process. Consequently, Doe argues his

injuries are directly traceable to the Board.

        The court concludes that Doe has failed to allege that there is any causal connection between

Doe's injurydismissal from UT Healthand any action by the Board. Doe does not identify any

conduct or act by the Board that affected Doe one way or another. Compare Bennett v. Spear, 520

U.s. 154, 167 (1997) (concluding that standing established by pleading alleging specifically that

amount of available water for irrigation will be reduced; that reduction is traceable to Fish and

Wildlife Service's biological opinion; and ranchers and irrigation districts will be adversely

affected). Instead, Doe argues that because the Board is responsible for overseeing the management

of UT Health, the compelled conclusion is that the Board caused Doe's injuryDoe's dismissal from

UT Health after failing the required preliminary examination three times. The court concludes this



Amendment Due Process;" and (3) Count IV "Texas Constitution, Art. I, Sec 19-Due Course of
Law."

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is inadequate to show that the Board engaged in any act that contributed to Doe's dismissal from UT

Health. Doe has failed to show he has standing to proceed with the claims alleged against the Board.

As Doe has failed to invoke the court's jurisdiction over any claim alleged against the Board, Doe

is without standing to bring the claims, and the court dismisses the remaining claims alleged against

the Board, without prejudice, for want ofjurisdiction.

Doe's claims against Harrell, Mitchell, and Day in their official capacities

        "A suit against a state official in his or her official capacity is not a suit against the official

but rather is a suit against the official's office." Will v. Michigan Dep 't ofState Police, 491 U.S. 58,

71(1989). "Suits against state officials in their official capacity   []   should be treated as suits against

the State." Hafer v. Melo, 502 U.S. 21, 25 (1991). The Eleventh Amendment "bar[s] a damages

action against a State in federal court" and "[t]his bar remains in effect when State officials are sued

for damages in their official capacity." Kentucky v. Graham, 473 U.S. 159, 169 (1985). Section

1983 does not waive Eleventh Amendment immunity from suit. Quern v. Jordan, 440 U.S. 332, 345

(1979). To the extent Doe seeks to recover damages from Harrell, Mitchell, and Day in their official

capacities, his claims are barred by Eleventh Amendment immunity from suit.

        Doe alleges that Harrell, Mitchell, and Day each engaged in acts that were ultra vires to their

official state responsibilities and, therefore, are not entitled to immunity for the alleged state-law

claims. Here, Doe claims that the Board's Rules and the UT Health Handbook of Operating

Procedures limit the legal authority of Harrell, Mitchell, and Day. However, in reviewing the rules

and procedures Doe relies upon as support for his argument, the court finds nothing in those

documents deprived Harrell, Mitchell, or Day of the legal authority to take the actions they did about

which Doe complains.


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       "To fall within [the] ultra vires exception, a suit must not complain of a government officer's

exercise of discretion, but rather must allege, and ultimately prove, that the officer acted without

legal authority or failed to perform a ministerial act." City of El Paso v. Heinrich, 284 S.W.3d 366,

372 (Tex. 2009). "An ultra vires claim based on actions taken 'without legal authority' has two

fundamental components: (1) authority giving the official some (but not absolute) discretion to act

and (2) conduct outside of that authority." Hall   v.   McRaven, 508 S.W.3d 232, 239 (Tex. 2017). If

the defendant acts within his discretionary authority, the ultra vires exception does not apply and the

court lacks subject-matter jurisdiction. Id. at 234.

       The court finds no allegations of fact that Harrell, Mitchell, or Day's actions regarding Doe

were beyond their discretionary authority. The actions Doe refers to are presented broadly and in

a conclusory maimer. Based on Doe's factual allegations, Harrell, Mitchell, and Day taught Doe,

gave him feedback after taking the preliminary examinations, provided Doe remedial plans and

recommendations, denied access to requested information, provided one-on-one instruction in an

independent-study course, and reviewed the first and second preliminary examination questions with

Doe but did not provide the answers. Although Mitchell and Day chaired the examination

committee at different times, there is no allegation that either of them graded Doe's examinations

or were involved in the decision to dismiss Doe from the graduate program.

        Further, even assuming the rules and procedures somehow provide an implicit prohibition

on viewpoint discrimination, the factual allegations do not support the conclusion that Harrell,

Mitchell, or Day retaliated against Doe for his anti-vaccination viewpoint. Doe alleges that his views

were "well known and documented" and that there were "various online sources of material."

However, absent are any allegations from which a reasonable inference could be drawn that Harrell,
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Mitchell, or Day knew about Doe's views, exactly how "well known" Doe's anti-vaccination views

were, or by whom those views were known. Doe's affidavit recites that he expressed his views in

classes and at an extracurricular group meeting attended by professors. Absent is any allegation that

Doe expressed his views in the presence of Harrell, Mitchell, or Day. Additionally Doe's affidavit

 does not include whether any of them were present at the extracurricular meeting during which Doe

expressed his anti-vaccination views. Further, although Doe states that he expressed his views in

his admission application essay, there is nothing alleged that reflects Harrell, Mitchell, or Day were

 involved in the admission process or knew about Doe's essay.

        Under the due-course-of-law provision of the Texas Constitution, courts determine whether

 a plaintiff has a liberty or property interest that is entitled to procedural due process protection; and,

 if so, determine what process    is due. See University    of Tex.   Med. Sch.   at Houston   v.   Than, 901

 S.W.2d 926, 929 (Tex. 1995). The amount of process due is measured by a flexible standard. Id.

 at 930-31 (standard includes: (1) private interest affected by official action; (2) risk of erroneous

 deprivation of private interest through procedures used and probable value, if any, of additional

 safeguards; and (3) government's interest, including function involved and fiscal and administrative

 burdens that additional or substitute procedural requirements entail). "Academic dismissals arise

 from a failure to attain a standard of excellence in studies," and require less process than a

 disciplinary dismissal. Id. Imposing a hearing requirement for academic dismissals raises serious

 policy concerns and the more advanced the educational environment, the more these policy concerns

 apply. Board ofCurators, Univ. ofMo.       v.   Horowitz, 435 U.S. 78, 90 (1978) (academic evaluations

 of student in contrast to disciplinary determinations, "bear little resemblance to the judicial and

 administrative fact-finding proceedings to which we have traditionally attached a full-hearing


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requirement;" rather they require "an expert evaluation of cumulative information and is not readily

adapted to the procedural tools ofjudicial or administrative decisionmaking")

         Based on Doe's allegations regarding the process Harrell, Mitchell, and Day afforded him,

the court concludes there is no basis upon which to reasonably infer that Harrell, Mitchell, or Day

violated Doe's right to due process.      Doe received three opportunities to take the required

preliminary examination for his graduate program, took remedial classes between exams, received

one-on-one instructional assistance, and was afforded the opportunity to review the first and second

exams with his academic advisor before taking the third exam.          The court concludes Doe's

allegations do not constitute a violation of the Texas Constitution's due-course-of-law guarantee.

          To the extent Doe's pleading raises a substantive due-course-of-law violation, Harrell,

Mitchell, and Day retain their Eleventh Amendment immunity. See Texas Workers' Comp.              v.


 Garcia, 893 S.W.2d 504, 525 (Tex. 1995) ("Like the federal due process clause, [the Texas due-

 course-of-law] guarantee contains a substantive as well as a procedural component."). The Texas

 Supreme Court "generally construe[s] the due course clause in the same way as its federal

 counterpart." Texas Workers' Camp. v. PatientAdvocates ofTex., 136 S.W.3d 643,658 (Tex. 2004).

 "When judges are asked to review the substance of a genuinely academic decision, such as this one,

 they should show great respect for the faculty's professional judgment." Regents of Univ.   ofMich.


 v.   Ewing, 474 U.S. 214, 225 (1985). A violation of substantive due process requires "such a

 substantial departure from accepted academic norms as to demonstrate that the person or committee

 responsible did not actually exercise professional judgment." Id. Indeed, it would be unreasonable

 to conclude that Harrell, Mitchell, or Day's actions about which Doe complains were "such a

 substantial departure from accepted academic norms as to demonstrate that the person [] responsible


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did not actually exercise professional judgment." Ewing, 474 U.S. at 225 (describing standard for

substantive-due-process violation in context of academic decision).

                 If a federal court is not the appropriate forum in which to review the
                 multitude of personnel decisions that are made by public agencies, it
                 is far less suited to evaluate the substance of the multitude of
                 academic decisions that are made daily by faculty members of public
                 educational institutionsdecisions that require an expert evaluation of
                 cumulative information and are not readily adapted to the procedural
                 tools ofjudicial or administrative decisionmaking.

Id. at 226 (quotations and citations omitted).

          Although Doe takes issue with various aspects of his academic process, the court concludes

that none ofDoe's complaints amount to a substantive-due-process violation. Harrell, Mitchell, and

 Day, in their official capacities, retain their immunity from suit.

 Doe's claims against Harrell, Mitchell, and Day in their individual capacities

          To the extent Doe raises claims against Harrell, Mitchell, and Day in their individual

 capacities under the Texas Constitution, there is no private right of action for damages under the

 Texas Constitution for violations of due process, therefore the court is without subject-matter

jurisdiction over these claims.5 "Texas has no provision comparable to [Section] 1983." Beaumont

 v.   Bouillion, 896 S.W.2d 143, 149 (Tex. 1995); see Acara     v.   Banks, 470 F.3d 569, 572 (5th Cir.

 2006) (no subject-matter jurisdiction if there exists no private cause of action). To the extent Doe

 alleges violations of the Texas Constitution against Harrell, Mitchell, and Day in their individual

 capacities, those claims are dismissed without prejudice for lack of subject-matter jurisdiction.




            Doe offered no response to this argument raised in Harrell, Mitchell, and Day's motion to
 dismiss.

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        Section 1983 claims against Harrell, Mitchell, and Day

        Doe broadly alleges, "42 Usc § 1983-First Amendment Freedom of Speech-Retaliation" and

"42 Usc   §   1983 Fourteenth Amendment Due Process," claims against Harrell, Mitchell, and Day

spanning events that occurred as early as 2015 through his dismissal from UT Health-Austin in June

2017. Harrell, Mitchell, and Day argue that based on Doe's filing this action on April 12, 2019, the

statue of limitations applies to all matters preceding April 12, 2017.

        Doe responds to Harrell, Mitchell, and Day's statue-of-limitations defense that the only injury

for which he now seeks to recover is his June 27, 2017 dismissal from UT Health-Austin's graduate

program, and the only relief he now seeks is reinstatement to the program; he no longer seeks any

financial damages.

        The parties agree that the applicable two-year statute of limitations runs between April 12,

 2019 and April 12, 2017. Thus, to be timely, Doe's claims must be based on conduct that occurred

 on or after April 12, 2017, and before April 12, 2019. At issue are only the events that occurred

 within this time frame.

        Harrell, Mitchell, and Day contend that the remaining First Amendment freedom-of-speech

 claims, should be dismissed for failure to state a claim. See Fed. R.   civ.   .   12(b)(6). To establish

 his First Amendment retaliation claim, Doe must show that the exercise of his constitutional rights

 was a substantial or motivating factor for Harrell, Mitchell, and Day's actions in having him

 removed from the graduate school. See Mount Healthy City Sch. Dist. Bd. ofEd.          v.   Doyle, 429 U.s.

 274, 287 (1977).

        Although Doe alleges he openly discussed his anti-vaccination views, missing are factual

 allegations from which the court can draw a reasonable inference that Harrell, Mitchell, or Day were


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aware of his views, or were motivated by them.          See Ashcrofi   v.   Iqbal,   556 U.S. 662, 678 (2009)

(plaintiff must plead facts that allow court to draw reasonable inference that defendant is liable for

alleged misconduct). There are no allegations about how or when Harrell, Mitchell, or Day learned

about Doe's anti-vaccination views, or why Doe believes that any of them treated him differently

because of his views. Additionally, there are no allegations that Harrell, Mitchell, or Day ever

referred to Doe's views in any context to anyone. The court cannot accept as true Doe's conclusory

allegation and unwarranted factual inference that Harrell, Mitchell, and Day discriminated against

him based on his viewpoint. Id. at 679. Doe's First Amendment freedom-of-speech claims alleged

against Harrell, Mitchell, and Day in their individual capacities are dismissed for failure to state a

claim for which relief may be granted.

         Harrell, Mitchell, and Day contend that Doe's Fourteenth Amendment due-process claims

 alleged against them in their individual capacities, raised by Count III, should be dismissed for

 failure to state a claim.   See   Fed. R. Civ. P. 12(b)(6).

         Doe's due-process claims relate to actions taken by Harrell, Mitchell, and Day following

 Doe's three failed attempts to pass the required preliminary examination for him to continue in the

 graduate epidemiology program. The court finds the decisions made by Harrell, Mitchell, and Day

 are purely academic decisions, not disciplinary decisions. Academic decisions require far less

 process because they "rest on the academic judgment of school officials," which is a subjective and

 evaluative judgment "not easily adapted to judicial procedure or decision-making."             Horowitz, 435


 U.S. at 89-90. "The Due Process Clause does not require that students dismissed for failure of

 academic performance be given a hearing" or a right to appeal.         Shah,    129 F. Supp. 3d at 500, aff'd

 668 F. App'x at 88.


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        Doe was given three opportunities to pass the preliminary examination for the UT Health

doctorate program. He was provided several remedial learning plans, took and retook courses to aid

in preparing him for the exam, and was provided one-on-one instructional assistance. Before taking

the exam for the third time, he was permitted to review and discuss questions from the first and

second exams with his academic advisor. The court concludes that Doe received all of the process,

and perhaps more than, he was due; no more was required. The court will dismiss Doe's claims for

failure to state a claim for which relief may be granted.

Conclusion

        The court concludes that Plaintiff John Doe has failed to establish standing to bring his

breach-of-contract claims, for which he seeks relief from the Board and the unnamed party, UT

System, therefore, the court will dismiss those claims for lack ofjurisdiction.    See   Fed. R. Civ. P.

 12(b)(1). Further, the court concludes that Doe has failed to establish standing to bring the

remaining claims alleged against the Board and      Will   also dismiss the remainder of Doe's claims

alleged against the Board for lack ofjurisdiction. Id. With regard to the claims Doe alleges against

Defendants Harrell, Mitchell, and Day, each in their official capacities, the court concludes that those

claims are barred by Eleventh Amendment immunity from suit and the court will dismiss those

 claims, without prejudice, for lack ofjurisdiction. Id. With regard to Doe's claims alleged against

 Harrell, Mitchell, and Day in their individual capacities under the Texas Constitution, the court will

 dismiss those claims, without prejudice, for lack ofjurisdiction. Id. With regard to Doe's Section

 1983 claims alleging Defendants Harrell, Mitchell, and Day violated Doe's First Amendment and




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Fourteenth Amendment rights, the court concludes that Doe fails to state a claim for which relief

may be granted, and the court will dismiss those claims with prejudice.   See   Fed. R. Civ. P. 1 2(b)(6).

        IT IS ORDERED that Defendants Board of Regents of the University of Texas System,

Melissa B. Harrell, Laura E. Mitchell, and Rena S. Day's Defendants' Motion to Dismiss'Plaintiffs

Second Amended Complaint for Lack of Subject-Matter Jurisdiction and Failure to State a Claim

filed June 21, 2019 (Clerk's Document No. 22) is GRANTED.

        IT IS FURTHER ORDERED that as Plaintiff John Doe failed to establish standing, all of

Doe's breach-of-contract claims are DISMISSED FOR LACK OF JURISDICTION. Fed. R. Civ.

P. 12(b)(l).

        IT IS FURTHER ORDERED that as John Doe fails to establish standing, all remaining

 claims alleged by Plaintiff John Doe against the Board are DISMISSED FOR LACK OF

JURISDICTION. Id.

        IT IS FURTHER ORDERED that all of Plaintiff John Doe's claims alleged against

 Defendants Harrell, Mitchell, and Day, each in their official capacities, are barred by Eleventh

 Amendment immunity from suit and these claims are DISMISSED FOR LACK OF

 JURISDICTION. Id.

        IT IS FURTHER ORDERED that all of Plaintiff John Doe's claims alleged against

 Defendants Harrell, Mitchell, and Day, each in their individual capacities under the Texas

 Constitution, are DISMISSED FOR LACK OF JURISDICTION. Id.

        IT IS FURTHER ORDERED that all of Plaintiff John Doe's claims alleging that

 Defendants Harrell, Mitchell, and Day, each in their individual capacities, violated Doe's First

 Amendment and Fourteenth Amendment rights under the United States Constitution are

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DISMISSED WITH PREJUDICE FOR FAILURE TO STATE A CLAIM. Fed. R. Civ. P.

1   2(b)(6).

          SIGNED this       day of October, 2019.




                                      UNI ED STATE DISTRICT JUDGE




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